Case 2:23-cr-00599-MCS Document 76-1 Filed 05/06/24 Page 1 of 5 Page ID #:2208




                 Exhibit 1
Case 2:23-cr-00599-MCS Document 76-1 Filed 05/06/24 Page 2 of 5 Page ID #:2209


  From:           Wise, Leo (USAMD)
  To:             Lowell, Abbe; Machala, Angela M.;
  Cc:             DEH (JWPT);
  Subject:        RE: United States v. Robert Hunter Biden, Cr. No. 23-599-MCS
  Date:           Thursday, May 2, 2024 8:33:48 PM


 Abbe,

 In light of the position you’re taking we don’t think a call would accomplish anything.

 Leo


 From: Lowell, Abbe <ADLowell@winston.com>
 Sent: Thursday, May 2, 2024 4:45 PM
 To: Wise, Leo (USAMD) <lwise@usa.doj.gov>; Machala, Angela M. <AMachala@winston.com>;

 Cc: DEH (JWPT) <DEH@usdoj.gov>;

 Subject: [EXTERNAL] RE: United States v. Robert Hunter Biden, Cr. No. 23-599-MCS

 Leo,

 The Notice of Appeal is what was filed in the California action that immediately divested the district
 court of jurisdiction. You and we addressed this same issue in Delaware (D.E. 107 - 110). No court
 has rejected the merits of the appeal or otherwise found it to be improper, so the divestiture
 remains in place as the caselaw explains. You have sought expedition on the issue of appealability,
 and that is likely to be decided soon. If jurisdiction does return to the district court, the court can
 then set the schedule.

 Again, we would set up a call to discuss the matter.

 Abbe




  Abbe David Lowell
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Case 2:23-cr-00599-MCS Document 76-1 Filed 05/06/24 Page 3 of 5 Page ID #:2210


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 From: Wise, Leo (USAMD) <Leo.Wise@usdoj.gov>
 Sent: Thursday, May 2, 2024 9:29 AM
 To: Lowell, Abbe <ADLowell@winston.com>; Machala, Angela M. <AMachala@winston.com>;

 Cc: DEH (JWPT) <DEH@usdoj.gov>;

 Subject: RE: United States v. Robert Hunter Biden, Cr. No. 23-599-MCS
                     ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




 Abbe,

 We’ve already made clear in the litigation in Delaware that the district courts have not been divested
 of jurisdiction because the denials of all your motions to dismiss are not immediately appealable.
 Nothing has been filed, let alone ruled on, in the Central District of California that relieves you of
 complying with the Court’s deadlines.

 Leo



 From: Lowell, Abbe <ADLowell@winston.com>
 Sent: Wednesday, May 1, 2024 8:34 PM
 To: Wise, Leo (USAMD) <lwise@usa.doj.gov>; Machala, Angela M. <AMachala@winston.com>;

 Cc: DEH (JWPT) <DEH@usdoj.gov>;

 Subject: [EXTERNAL] RE: United States v. Robert Hunter Biden, Cr. No. 23-599-MCS

 Leo,

 I have been in back-to-back meetings since 9 AM (partially because of the two days of holiday this
 week). Your email came after I left the office, and I am just now getting a chance to respond. As we
 explained in Delaware, we believe the appeal has divested the district court of jurisdiction to move
 forward and that includes deadlines for exchanging or filing pretrial documents contemplated in a
 scheduling order. The law seems clear about that, but we would welcome getting on a call to
 discuss it tomorrow if you are of a different view.

 Abbe
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 From: Wise, Leo (USAMD) <Leo.Wise@usdoj.gov>
 Sent: Wednesday, May 1, 2024 5:20 PM
 To: Lowell, Abbe <ADLowell@winston.com>; Machala, Angela M. <AMachala@winston.com>;

 Cc: DEH (JWPT) <DEH@usdoj.gov>;

 Subject: United States v. Robert Hunter Biden, Cr. No. 23-599-MCS
                                                ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




 Attached please find the government’s proposed jury instructions in the above captioned
 matter pursuant to the Court’s standing order. Standing Order Paragraph G(4) (“Counsel shall
 exchange proposed jury instructions (general and special) 28 calendar days prior to the Final
 Pretrial Conference.”). These are drafts and the Government reserves the right to revise them
 at any time prior to the Court’s final determination of the instructions it intends to give in this
 matter.

 We await your proposed instructions.

 The standing order also requires the parties to meet and confer by May 8, 2024, regarding the
 statement of the case, Standing Order Paragraph G(1), and exhibit lists, Standing Order
 Paragraph G(6)(a). The Government proposes May 8, 2024 at 2 pm.

 Please confirm your availability at that day and time or propose an alternative. We propose
 holding the meet-and-confer virtually.
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